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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION

UNITED STATES OF AMERICA,                  )
                                           )
            Plaintiff,                     )
                                           )
      vs.                                  )         Case No. 4:05CR605 HEA
                                           )
VIRGIL JACKSON,                            )
                                           )
            Defendant.                     )

                                      ORDER

      This matter is before the Court on Defendant’s Motion of Copies of

Transcripts without payment of fees, [Doc. No. 256]. The Court has reviewed the

motions and finds they are well taken.

      Accordingly,

      IT IS HEREBY ORDERED that Defendant’s Motion is granted.

      IT IS FURTHER ORDERED that Defendant shall be provided with a

complete transcript of the proceedings in this matter, the Court to pay the cost of

said transcripts, including any FTR Gold transcripts in this matter.

      Dated this 19th day of August, 2008.




                                           HENRY EDWARD AUTREY
                                         UNITED STATES DISTRICT JUDGE
